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        Approved:                 ~
                     ALINE R. FLODR/ SHEB SWETT/ SAGAR K. RAVI
                     Assistant United States Attorneys

        Before:      THE HONORABLE ONA T. WANG
                     United States Magistrate Judge
                     Southern District of New York

                                      - - - - - x
         UNITED STATES OF AMERICA                     SEALED COMPLAINT

                  - v. -                              Yiolation of 18 U.S.C.
                                                      § 2113(a)

         JAMIE FRIERSON,
                                                      COUNTY OF OFFENSE:
                               Defendant.             BRONX

                                            - - - x

        SOUTHERN DISTRICT OF NEW YORK, ss.:

                  Elisabeth Wheeler, being duly sworn, deposes and says
        that she is a Special Agent with the Federal Bureau of
        Investigation ("FBI"):

                                       COUNT ONE
                                     (Bank Robbery)

             1.      On or about May 8, 2019, in the Southern District of
        New York,    JAMIE FRIERSON, the defendant,    knowingly, by force and
        violence, and by intimidation, did take, and attempt to take,
        from the person and presence of another, property and money and
        other things of value belonging to, and in the care, custody,
        control, management, and possession of a bank, the deposits of
        which were then insured by the Federal Deposit Insurance
        Corporation ("FDIC"), to wit, FRIERSON obtained money from a
        bank in the Bronx, by claiming that he was armed and demanding
        that a bank employee turn over to FRIERSON money in the bank's
        custody.

                    (Title 18, United States Code, Section 2113(a) .)

                  The bases for my knowledge and for the foregoing
        charges, are, in part, as follows:

             2.   I am a Special Agent with the FBI.  I am personally
        involved in the investigation of this matter. This affidavit is
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"


based upon my conversations with other law enforcement officers,
my examination of reports and records prepared by law
enforcement officers, and my involvement in this investigation.
Because this affidavit is being submitted for the limited
purpose of establishing probable cause, it does not include all
of the facts that I have learned during the course of my
investigation.  Where the contents of documents and the actions,
statements, and conversations of others are reported herein,
they are reported in substance and in part, except where
otherwise indicated.

                             The Bank Robbery

     3.   Based on my personal observations, conversations with
other law enforcement officers, my review of surveillance
footage and law enforcement reports, and my interview with a
victim of the robbery ("Teller-1"), I have learned, in substance
and in part, the following:

          a.   On or about May 8, 2019, at or about 2:54 p.m., a
man who has since been identified as JAMIE FRIERSON, the
defendant, see infra <JI<[ 4-6, entered a bank ("Bank-1") at 120
East Fordham Road between Creston Avenue and East 190th Street
in the Bronx, New York.     Upon approaching a teller window at
Bank-1, FRIERSON passed a note to Teller-1, an employee of Bank-
1, which read "I AM ARMED GIVE ME ALL OF IT!     lOO'S, SO'S, 20,
10 IMMEDIATELY NO DIE PACKS."

          b.  After providing Teller-1 with the note, JAMIE
FRIERSON, the defendant, told Teller-1 in substance and in part:
"Give me all hundreds.  Give me all your money. I'm armed."

          c.  Teller-1 gave FRIERSON approximately $200 of
Bank-l's money and FRIERSON fled.

                     IDENTIFICATION OF JAMIE FRIERSON

     4.   Based on my participation in a prior investigation of
JAMIE FRIERSON, the defendant, for bank robberies in Manhattan
and my review of court and law enforcement records, I have
learned, in substance and in part, the following:

              a.  On or about August 30, 2017, FRIERSON was
    arrested and charged in the Southern District of New York for
    committing a bank robbery in Manhattan on or about August 29,
    2017, in violation of 18 U.S.C. § 2113(a).



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          b.  On or about August 18, 2018, after FRIERSON was
indicted on additional bank robbery charges, FRIERSON was
convicted after a jury trial of committing five robberies of
five separate banks in Manhattan between on or about August 16,
2017 and on or about August 29, 2017. Evidence at trial
established that the defendant committed these robberies by
passing notes to tellers threatening that FRIERSON had a gun.
For example, one of the notes stated the following:  "HELLO I AM
ARMED GIVE ALL MONEY lOO'S, SO'S, 20'S."


          c.   I personally participated in the investigation
and prosecution of FRIERSON, including testifying at his trial
about a search that I executed pursuant to a judicially-
authorized warrant on a hotel room that FRIERSON was residing in
when he was arrested in connection with the charges referenced
herein, see supra ~ 4a. I most recently saw FRIERSON on April
29, 2019, at his sentencing.

     5.   Based upon my review of still images from security
video footage of the above-referenced robbery of Bank-1 on or
about May 8, 2019, and, based on my familiarity with the
physical appearance of ~AMIE FRIERSON, the defendant, as well as
his modus operandi, I believe FRIERSON is the same individual
depicted in the security video footage from Bank-1 who robbed
Bank-1 on or about May 8, 2019.

     6.    Based on my conversation with law enforcement agents
who interviewed a relative ("Relative-1") of JAMIE FRIERSON, the
defendant, on or about May 8, 2019, I have learned, in substance
and in part, the following:

          a.  FRIERSON had been living with Relative-1 since on
or about April 29, 2019.

          b.  After being shown still images from security
video footage of the man who committed the above-referenced
robbery of Bank-1 on or about May 8, 2019, Relative-1 identified
the individual depicted in the still images as FRIERSON.


               Federal Deposit Insurance Corporation

     7.   From my review of publicly available materials, as
well as my training and experience as a Special Agent of the
FBI, I know that, at all relevant times, the deposits of Bank-1,
were insured by the FDIC.


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                       WHEREFORE, the deponent respectfully requests that a
                  warrant issue for the arrest of JAIME FRIERSON, the defendant,
                  and that he be arrested and imprisoned, or bailed, as the case
                  may be.



                                             Eli sabethWheeYer
                                             Special Agent
                                             Federal Bureau of Investigation


                  Sworn to before me this
                  9th day of      2019




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